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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :      Criminal No. 4:09-CR-00345
                                           :
             v.                            :      (Judge Jones)
                                           :
GREGORY ALAN MORTON                        :      (Electronically Filed)
                                           :


                              MOTION IN LIMINE


      AND NOW, come the defendant, Gregory A. Morton, by his attorney,

Thomas A. Thornton of the Federal Public Defender’s Office, moving this

Honorable Court to limit the introduction of evidence at trial.



1.    By indictment filed October 22, 2009, Gregory Alan Morton was charged

with first degree murder in violation of 18 U.S.C. § 1111.

2.    The Federal Public Defender’s Office was appointed to represent Mr. Morton.

3.    Trial in this matter has been scheduled for June 28, 2010.

4.    Gregory Morton requests that the following testimony and evidence be

excluded from trial or limited.

      (A)    The government should be precluded from showing any pictures of the

             body of Scott Lilly because they are irrelevant (F.R.E. 401),

             inflammatory and their probative value is substantially outweighed by
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      the danger of unfair prejudice (F.R.E. 403).

            (I)    The pictures show Scott Lilly lying in a pool of coagulated

                   and drying blood. The pooling and coagulating were

                   caused by the corrections officers who were derelict in

                   their duties and did not respond to the duress alarm for 1

                   1/2 hours. The body was not photographed or removed

                   until at least 30 minutes after the initial response. The

                   blood that pooled on the floor and dried on Scott Lilly

                   resulted from the lack of response by the corrections

                   officers and therefore is irrelevant and highly prejudicial

(B)   The government has given F.R.E. 404(b) notice that it intends to

      produce testimony to show the reason why Gregory Morton was put in

      the Special Housing Unit at the penitentiary. Gregory Morton asks that

      the government be precluded from offering such testimony because it is

      irrelevant (F.R.E. 401) and is not admissible for any other purpose.

      F.R.E. 404(b). The admission of such evidence could smear Gregory

      Morton with the taint of propensity and is therefore also more

      prejudicial than probative. (F.R.E. 403)

(C)   The government will impeach Gregory Morton through evidence of

      conviction of a crime (F.R.E. 609). Gregory Morton seeks to limit such


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             examination to the ten year time period of F.R.E. 609. Mr. Morton also

             seeks to insure that no specifics of the prior conviction are admitted and

             that the questioning of the government is limited to the date of the bank

             robbery and the fact of conviction. (F.R.E. 609).



      WHEREFORE, for the foregoing reasons, Gregory Alan Morton respectfully

requests this Honorable Court to limit or exclude the above-referenced evidence and

testimony.



                                       Respectfully submitted,



Date: June 14, 2010                    /s/ Thomas A. Thornton
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                                       Asst. Federal Public Defender
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                           CERTIFICATE OF SERVICE


      I, Thomas A. Thornton, of the Federal Public Defender’s Office, do hereby

certify that on this date I served a copy of the foregoing Motion in Limine, via

Electronic Case Filing, or by placing a copy in the United States mail, first class in

Harrisburg, Pennsylvania, addressed to the following:


      FREDERICK E. MARTIN, ESQUIRE
      United States Attorney's Office


      GREGORY ALAN MORTON


Date: June 14, 2010                     /s/ Thomas A. Thornton
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